 

 

Case 1:99-cr-00131-RJA-LGF Document 1328 Filed 03/29/06 Page 1 of 6

3 AG) 2458 (Rev. 12/03) Judgment in a Criminal Case (P4890) MiQ/himnvsb
< Sheet |
= .

UNITED STATES DISTRICT COURT

 

 

WESTERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Number: 1:99CR06131-001
Mohamed Kaid USM Number: 09953-055

Nelson Torre
Defendant's Attorney

THE DEFENDANT:
XX] pleaded guilty to count(s) 100

(_] pleaded nolo contendere to count(s)

 

 

 

 

which was accepted by the court. =
com

(1 was found guilty on count(s) ==
after a plea of not guilty. ru
ND

The defendant is adjudicated guilty of these offenses: a
2

Title & Section Nature of Offense Offense Ended —
(8 U.S.C. § 1962(d) Conspiracy to Commit Racketeering 1998 <3

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

[1] The defendant has been found not guilty on count(s)

1, 4, 5, 8, 11, 12, 19, 23, 24, 30, . Lo. . .
i Count(s) 32,37, 50, 51, 101 and 102 0D is [J are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessm ents imposed by this judgment are fully paid.” If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes m economic circumstances,

March 1, 2006

“L., of Judgment Le
4:

Sighatirdof Judge

Richard J, Arcara, Chief U.S. District Judge
Name and Title of Judge

 
 

.
Case 1:99-cr-00131-RJA-LGF Document 1328 Filed 03/29/06 Page 2 of 6

 

"AO 245B (Rev. 12/03) Judgment in Criminal Case (P4890) MIQ/thmm/sb
* - | Sheet 2— Imprisonment :
Judgment ~~ Page 2 of 6
DEFENDANT: Mohamed Kaid :
CASE NUMBER: 1:99CRO0131-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: Thirty Three (33) months

The cost of incarceration fee is waived.

Pursuant to Title 18 U.S.C. § 3664(n), if the defendant is obligated to provide restitution and he receives resources
from any source, including inheritance, settlement, insurance, lawsuit or other judgement during a period of ;
incarceration, the defendant shall be required to apply the value of such resources to any outstanding restitution or
fine. :

a4 The court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to a facility as close as possible to Buffalo, New York.

 

C} The defendant is remanded to the custody of the United States Marshal.
[J The defendant shall surrender to the United States Marshal for this district:

C} at Oam O pm. on
O as notified by the United States Marshal.

 

 

[¥] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[] before 2 p.m. on

 

[]_ as notified by the United States Marshal.

L] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
 

 

Case 1:99-cr-00131-RJA-LGF Document 1328 Filed 03/29/06 Page 3 of 6

AO 245B (Rev. 12/03) Judgment in a Criminal Case (P4890) MJQvmmavsb
' . Sheet 3 — Supervised Release

Judgment—P; 3 f é
DEFENDANT: Mohamed Kaid ne —— °

CASE NUMBER: 1:99CR00131-001
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for aterm of: Two (2) years

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons,

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance, The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

K} The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shal! cooperate in the collection of DNA as required by the Justice for All Act of 2004, (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a.
student, as directed by the probation officer. (Check, if applicable.)

Oo ORB

The defendant shall participate in an approved program for domestic violence, (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the |
Schedule of Payments sheet of this judgment. :

The defendant must comply with the standard conditions that have been adopted by this court as well as with anyadditional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month; :

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
4} the defendant shall support his or her dependents and meet other family responsibilities:

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons; ;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted:of a
felony, unless granted permission to do so by the probation officer; :

10) the defendant shail permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer: :

11} the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12} the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm ‘the

defendant’s compliance with such notification requirement.

 

 
 

Case 1:99-cr-00131-RJA-LGF Document 1328 Filed 03/29/06 Page 4 of 6

AQ 245B (Rev. 12/03) Judgment in a Criminal Case (P4890) MJO/ramm/sb
‘ Sheet 3C — Supervised Release

‘ Judgment—Page 4 of 6i
DEFENDANT: Mohamed Kaid
CASE NUMBER: 1:99CR06131-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall obtain and maintain gainful employment.

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his control
and permit confiscation of any evidence or contraband discovered.

The defendant shall provide the U.S. Probation Office with access to any requested personal and/or business financial
information. The U.S. Probation Office is authorized to retease pre-sentence and post-sentence financial information submitted
by the defendant to the U.S. Attorney’s Office for use in the collection of any unpaid restitution. If restitution is owed,'the
defendant shall notify ihe U.S. Probation Office of any assets received and shall not disburse his interest in any assets, including,
but not limited to, income tax refunds, inheritance, insurance and lawsuit settlements, or gambling winnings without the approval
of the U.S. Probation Office,

While restitution is owed, the defendant shall not incur any form of debt including, but not limited to, use of existing credit cards,
new credit cards, lines of credit, mortgages or private loans without the approval of the U.S. Probation Office,

 

 
 

Case 1:99-cr-00131-RJA-LGF Document 1328 Filed 03/29/06 Page 5 of 6

AQ245B (Rev. 12/03) Judgment in a Criminal Case (P4890) MI Q/minm/sh
. , Sheet 5 — Criminal Monetary Penalties .

Judgment — Page 3 of 6

ee

 

DEFENDANT; Mohamed Kaid
CASE NUMBER: 1:99CR00131-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 § $ 14,913,701.56

CL] The determination of restitution is deferred until . An Amended Judgment in-a Criminal Case (AO 245C) will be entered
after such determination.

(} The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
State of New York $6,375,322.50
State of Michigan $8,538,379.00

TOTALS $ $_14,913.701.50

C1) Restitution amount ordered pursuant to plea agreement $

C1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g). ;

ix! The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the 1 fine restitution,

CL] the interest requirement forthe [J fine (7 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 
 

 

| 00.cr. RIA ; 6 Page 6 of 6 |
AO 2458 Rew 21 REID GEERT RT RJA-LGF Document 1328 Filed 03/29/0 age 60 (24890) MQM

* ' Judgment — Page 6 f 6
DEFENDANT: Mohamed Kaid "

CASE NUMBER: 1:99CR00131-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

AL) Lump sum payment of $ due immediately, balance due

O sin accordance Oe OD LC} E,or [IF below; or
B [xj Payment to begin immediately (may be combined with [IC, CD, or F below); or

C [J] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of |
(¢.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or :

D (C$ Payment in equal (e.g., weekly, monthiy, quarterly} installments of $ over a period of
(e.g., months or years), to commence {e-g., 30 or 60 days) after release from imprisonment to a |
term of supervision; or

E () Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or |

F [xi Special instructions regarding the payment of criminal monetary penalties:

Pursuant to 18 U.S.C. §3663A, it is ordered that the defendant make restitution to the State of New York in the amount of ;
$6,375,322.50 and to the State of Michigan in the amount of $8,538,379 for a total of $14,913,701.50. Restitution will be jaint
and several with any other defendants convicted in this case or any related case, who share the same victims and losses. The
restitution is due immediately. Interest on the restitution is waived. While incarcerated, if the defendant is non-UNICOR or |
UNICOR grade 5, the defendant shail pay installments of $25 per quarter. If assigned grades | through 4 in UNICOR, the
defendant shall pay installments of 50% of the inmate's monthly pay. After considering the factors set forth in 18 U.S.C, 3
§3664(f){2), while on supervised release, the defendant shail make monthly payments at the rate of 10% of monthly gross income.

Unless the court has expressly ordered otherwise, if this judgmentimposes imprisonment, paymentof criminal monetary penalties is due durin
imprisonment. All crimina monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Finaricia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

x] = Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate. ;

O

The defendant shall pay the cost of prosecution.
[1 The defendant shall pay the following court cost(s):

[J The defendant shail forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

 
